Case 3:16-cv-02077-GAG-B.]I\/| Document 170-4 Filed 12/20/17 Page 1 of 1
PLAN DE PENS!ONES DE LAS ESCUELAS CATOLlC/-\S

ARQUID!OCES!S DE SAN JUAN DE PU-ERTO R!CO

CERTIFICACION DE SALAR[OS

1. Colegio 0 Academia PADRE BERR|OS

 

codng man de Pensiones 452

Qu. mmer del Empreado CANDIDA PEREZ ROBLES
No. seguro soczas 584~60-1624
Fecha que comenzoa trabajar 1 DE SEPTIEMBRE DE 1979
Fecha en que termino detrabajar 30 DE JUN|O DE 1995

"I" ‘ iad M‘ ‘:‘ z ~
!ll, Yo, §’3:’ mg ¥}'§6'1 G’i,i L §§ ', ?`1[(5 certif§co que et (la) emp|eado arriba mencionado,
D\rector (a) §§ §;,;,;;v.§ ‘~? @gi

ha devengado los siguientes Saiarios durante 103 u1timos sesenta (SO)Fmeses:

'f- m de §U'“O de`_____._l§’_&& 31 31 de dxc;embre de 1990 $L" 500 ' 00
2. 1r0. de ener<) de 1991 511-31 de diciembr@ de 1991 $9 » 900 ¢OO
3. 1r0. de enero de 1992 t al 31 de diciembre de 1992 $10, 150 . 00
3 4_ 1ro. de enero de 1993 31 31 de d;C;embre de 1993 $10 .450 t00
5. 1ro. de enero de 1994 31 31 de d1c1emb1@ de 1994 '$10, 1150~00
6. 1ro. de enero de 1995 31 30 de jun§g de 1995 m
Tota! salarios devengados L’xl‘timos 60 meses $53,350»00

Evidencia que Se adjun{a:
Historial De Salarios Pc)r Patrono
Dei Seguro Social Federai.

  

Firma ’

Feéha

PP-ASJ-zo . ,

Re\.'. 2003

Este documento no podré ser sustituid_o por ning€m otro mode!o, se preparara a maquinilla

0 en tinta usando letra-':de molde y la informacic'>n debe ser exacta y firmada en originaf.

 

EXH|B|T 3

